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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FT. WORTH DIVISION


 ROBERT (BOB) ROSS                                 §
 Plaintiff,                                        §
                                                   §
                                                   §
                                                   §
                                                   §
                                                   §       Case No. 4:22-CV-00343
                                                   §
 V.                                                §
                                                   §
 ASSOCIATION OF PROFESSIONAL                       §
 FLIGHT ATTENDANTS,                                §
 MCGAUGHEY, REBER AND                              §
 ASSOCIATES, INC., JULIE                           §
 HEDRICK, ERIK HARRIS                              §
 Defendants.                                       §


                              CERTIFICATE OF INTERESTED PARTIES

         COMES NOW, Counter Defendant, Robert (Bob) Ross, and hereby certifies that the
following persons or entities have a financial interest in the outcome of this allegation are as
follows pursuant to Fed. R. Civ. P. 7.1:



Plaintiff/Counterclaim Defendant:          Robert (Bob) Ross


Defendants/Counterclaim Plaintiffs: Association of Professional Flight Attendants


                                           Julie Hedrick at her place of employment APFA Headquarters


                                           Erik Harris at his place of employment APFA Headquarters

                                           McGaughey, Reber and Associates, Inc. d/b/a Diversified
                                           Credit Systems




Certificate of Interested Parties 1 of 2
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                                           Respectfully submitted,
                                           K.D. PHILLIPS LAW FIRM, PLLC

                                           By: /s/ Kerri Phillips
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                                           ATTORNEY FOR PLAINTIFF




Certificate of Interested Parties 2 of 2
